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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION

DONNIE BOBO,
Plaintiff,

-V-

STEVEN ERICSONS,
Defendant,

CIVIL RIGHTS COMPLAINT
FOR MONETARY DAMAGES

 

Jurisdiction:

1. This civil rights complaint is brought pursuant

FILED - GR

November 28, 2022 1:20 PM
CLERK OF COURT
U.S. DISTRICT COURT

WESTERN DISTRICT QF,MICHIGAN
BY:JMW SCANNED BY: 4 [[-28

1:22-cv-1122
Sally J. Berens
U.S. Magistrate Judge

Hon.

to 42 USC § 1983;

Eighth Amendment Deliberate Indifference: ADA ( 42 USC § 12132 );

Rehabilitation Act ( 29 USC § 79a ), to remedy the deprivations

of officials acting under the color of state law; rights secured

by the United States Constitution, Federal and State law; seeking

monetary damages.

2. This court has jurisdiction over this action pursuant to 28 USC

§§ 1331 and 134(a).

3. This court has supplemental jurisdiction over the state law claims

pursuant to 28 USC § 1367(a).
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Parties:

4.

In support of this civil rights complaint, Plaintiff alleges

and complains against Defendant as follows:

Plaintiff Donnie Bobo (herein after known as "Plaintiff"), is
a state prisoner under the jurisdiction and control of the

Michigan Department of Corrections (herein after known as "MDOC")

at all times relevant to this lawsuit, Plaintiff was confined at

the Lakeland Correctional Facility (herein after known as “LCF"),

located at 141 First Street, Coldwater, Michigan 49036.

Defendant Steven Ericsons is an employee of the "MDOC". At all

times relevant to this lawsuit, he was employed as a Dentist at

("LCF"), located at 141 First Street, Coldwater, Michigan 49036.

He is sued in his individual and official capacity.

FACTUAL ALLEGATIONS

 

Plaintiff has a documented medical history of Hip Surgery, Sciatica
Nerve damaged in his lower back, preparing for that apeomiie procedure
as well too; The excruciating pain with his wisdom tooth being pulled
on 6-27-22, by the Defendant Steven Ericsons. The Defendant couldn't

pull the other tooth, due to the Defendant stated I needed to see a

vy

“ Specialist ", I have been in excruciating pain for a great amount of

pain, since this process had started.
On 9-6-22, Plaintiff went back to health care to see the Defendant to

have 2 teeth filled, and correct and strengthened. But that never did

happened. The Defendant Ericsons informed me that my teeth would be
10.

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very sensitive for 6 months, to eat anything.

On 9-13-22, Plaintiff went back to health care to be seen by
the Defendant Ericsons, to correct the problem he had created

with my mouth being in so much excruciating pain constantly.

On 9-20-22, Plaintiff had his unit officer, C/O Dixen, to call

over to health care, due to the pain was ongoing and overwhelming

to bear, since the last time I saw the Dentist on 9-13-22.

On 9-20-22, Defendant Ericsons, was called in to look over the
Plaintiff mouth, for his excruciating pain. However the Defendant

Ericsons, wasn't professional towards the Plaintiff health and his

needs and his concerns with his mouth.

Defendant Ericsons, became loud and angry towards the Plaintiff

placing his hand directly in the Plaintiff face, looking for a
conflict with the Plaintiff. However, health care officer had to

intervene, and admonished the Defendant Ericsons, for placing his

hands directly in the Plaintiff face.

On 9-20-22, Plaintiff filed a grievance on the Defendant for his
actions towards the Plaintiff, for causing more intentional and

infliction on the Plaintiff, without giving the Plaintiff anything

for his excruciating pain.

On 10-3-22, Plaintiff went back to health care to be seen by the

Defendant, And Dr. Ericsons, finally gave the Plaintiff some Meds.
Amoxcillin (Trimox) 500 mg. From 10-3-22 through 10-14-22; After

the Plaintiff filed an grievance concerning this manner.
15.

16.

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On 10-3-22, Defendant Ericsons informed, Plaintiff that he
needed to see a specialist, concerning his left side teeth; An
he was placing a 407 for approval. And as of 11-15-22 Plaintiff

hasn't seen any specialist as of yet! But still experiencing so

much excruciating pain constantly.

As a result of Defendant Steven Ericsons malicious and reprehensible

actions, Plaintiff suffered from mental and emotional distress, in

having to be counseled by a prison case manager, due to its so hard

to eat anything. Plaintiff teeth are so sensitive.

17. In 2002, Plaintiff was convicted and sentenced to serve a prison

18.

19.

term of 35 years to 70 years. In the Michigan Department of

Corrections.

LEGAL CLAIMS

Defendant's acts, omissions, rules, policies, and practices, as set

for in paragraph 7 through 16, violated Plaintiff rights, under the

American's with Disabilities Act (ADA), and the Eighth Amendment

Clause to the United States Constitution, Federal and States Laws.

First Cause of Action

 

Defendant's Ericsons actions violated Federal law, by his causing
Plaintiff mental and emotional distress, as set forth in this

complaint.
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Second Cause of Action

 

20. Defendant Ericsons actions violated Federal law, by he deliberate

indifference in denying Plaintiff medical treatment, and abusing

his authority, as set forth in this complaint.

Third Cause of Action

 

21. Defendant Ericsons actions violated State law, by his gross

negligence of depriving Plaintiff of medical treatment, as set

forth in this complaint.

Fourth Cause of Action

 

22. Defendant Ericsons actions violated Federal law, pursuant to

the rehabilitation act of 1973 (29 USC 79a), as set forth in

this complaint.

Fifth Cause of Action

 

23. Defendant Ericsons actions violated State law, by his causing

Plaintiff intentional infliction of emotional distress as set

forth in this complaint.

RELIEF REQUESTED

Wherefore, Plaintiff request that this court grant the

following:
A)

B)

C)

D)

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Issue a declaratory judgment that Defendant's acts, omissions,

rules, policies, and practices, violated Plaintiff's rights

under the United States Constitution, Federal and States laws.

Award Plaintiff compensatory damages against defendant, in the

amount of Ten-Thousand Dollars ($10,000.00), as a result of the
deliberate indifference, discrimination, mental and emotional

distress, and gross negligence.

Award Plaintiff punitive damages in the amount of One-Hundred

Thousand Dollars ($100,000.00), as a result of defendant's

reprehensible, malicious and callous conduct.

Grant Plaintiff his cost, expenses and interest on any judgment

awarded, including but not limited to reasonable attorney fees.

Date: LL-/8- 2022 Respectfully Submitted

 

Donnie Bobo #186601
Plaintiff in Pro Se

Lakeland Corr. Facility
141 First Street
Coldwater, MI 49036

AFFIRMATION

I affirm under penalty of perjury, that the above facts are true

and correct, to the best of my knowledge, information and belief.
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Date: )t: r= 2022 Respectfully Submitted

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Donnie Bobo # 186601
Plaintiff in Pro Se
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UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

DONNIE BOBO, Case No.
Plaintiff,
Hon.

-V-

STEVEN ERICSON,
Defendant,

DEMAND FOR JURY TRIAL

 

NOW COMES, Donnie Bobo, acting in pro se, demands his

rights to trial by jury, pursuant to Fed.R.Civ.P. 38(b).

Date: bbe uy 2022 ee Submitted
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Donnie Bobo # 186601
Plaintiff in Pro Se
 

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DONNIE BOBO # 186601 B-1-50

LAKELAND CORRECTIONAL FACILITY
141 FIRST STREET

COLDWATER, MICHIGAN 49036

    
   
  

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